                         UNITED STATES DISTRICT COURT
                                                for

                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

U.S.A. vs. Steven Earl Hunter                                       Docket No. 5:96-CR-51-2BO

                         Petition for Action on Supervised Release

        COMES NOW Erica W. Foy, probation officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Steven Earl Hunter, who, upon an earlier
plea of guilty to 21 U.S.c. § 846 and 841 (a)(I), Conspiracy to Possess With Intent to Distribute and
Distribution of Cocaine Base, was sentenced by the Honorable Terrence W. Boyle, U.S. District
Judge, on October 4, 1996, to the custody of the Bureau of Prisons for a term of21 0 months. It was
further ordered that upon release from imprisonment the defendant be placed on supervised release
for 60 months under the standard conditions adopted by the court and the following additional
conditions:

I.     The defendant shall participate as directed in a program approved by the probation office for
       the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.

')     The defendant shall submit a written weekly report to the probation office, if not regularly
       employed, of attempts to secure gainful employment.

3.     The defendant shall support his dependants.

       On October 15, 2008, the court reduced his sentence from 210 months to 168 months.
Steven Earl Hunter was released from custody on October 27, 2008, at which time the term of
supervised release commenced.

     RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS:

       Since the defendant has been on supervision, he has been unable to obtain full time
employment. He continues to seek a permanent job; however, he has been unsuccessful. We
recommend adding the vocational training condition to allow us to refer him to Preferred
Alternatives, Inc., in Raleigh, North Carolina, for employment services. The defendant signed a
Waiver of Hearing agreeing to the proposed modification of supervision.




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         P RA VING THAT THE COURT WILL ORDER that supervised release be modified
as f'ollows:

1.     The defendant shall participate in a vocational training program as directed by the probation
       office. Such program may include job readiness training and skills development training.

       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                               I declare under penalty of perjury that the
                                                     foregoing is true and correct.


  /s/Jeffi'ey L. Keller                               Is/Erica W. Foy
./effrey L. Keller                                   Erica W. Foy
Supcrvising U.S. Probation Officer                   U.S. Probation Officer
                                                     310 New Bern Avenue, Room 610
                                                     Raleigh, NC 27601-1441
                                                     Phone: (919) 861-8660
                                                     Executed On: August I I, 20 I0


ORDER OF COURT

Considered and ordered this  d-d-     day of
madc a part of the records in the above case.
                                                &~                   , 2010, and ordered filed and




Tcrrence W. Boyle
                       w.
US. District Judge




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